Case 4

MORGAN, LEWIS

Bockius LLP

ATTORNEYS AT LAW
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GIARAN, INC., a Delaware
corporation; RAYMOND FU, an |
individual, and DOES 1-10, inclusive,

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MORGAN, LEWIS & BOCKIUS LLP
Charles J. Malaret, Bar No. 144001
charles.malaret@morganlewis.com
Kathryn T. McGuigan, Bar No. 232112
kathryn.mcguigan
Emily L. Calmeyer, Bar No. 307432
emily.calmeyer@morganlewis.com
300 South
Twenty-Second Floor

Los Angeles, CA 90071-3132
Tel: +1.213.612.2500

Fax: +1.213.612.2501

morganlewis.com

Avenue

Attorneys for Defendants,
RAYMOND FU and SHISEIDO AMERICAS
CORPORATION (f/k/a GIARAN, INC.)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

VASO GOUNTOUMAS, an individual, Case No. 2:18-CV-07720-JF W-PJ W

Plaintiff, DECLARATION OF CHARLES J.
MALARET IN SUPPORT OF
DEFENDANTS’ MOTION TO
COMPEL ARBITRATION AND
TO DISMISS, OR IN THE
ALTERNATIVE STAY ACTION

police of Motion and Motion;
emorandum of Points and
Authorities; Declaration of Yun
“Raymond” Fu; and [Proposed]
Order filed concurrently herewith]

Defendants.

Honorable John F. Walter

Place: Courtroom 7A
United States Courthouse
350 W. Ist Street
Los Angeles, CA 90012

Date: November 19, 2018
Time: 1:30 p.m.

 

 

 

 

 

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DECLARATION OF CHARLES J. MALARET ISO
DEFENDANTS’ MOTION TO COMPEL ARBITRATION

 
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DECLARATION OF CHARLES J. MALARET

I, Charles J. Malaret, declare as follows:

1. I am an attorney licensed to practice law before all courts in the State
of California, and I am admitted to practice in this Court. I am a partner with
Morgan, Lewis & Bockius LLP, attorneys for Defendants Raymond Fu (“Fu”) and
Shiseido Americas Corporation (f/k/a Giaran, Inc. (“Giaran”) (collectively referred
to herein as “Defendants”) in the above-entitled action. I have personal knowledge
of the following facts and could and would testify competently to them if called to
do so.

2. On September 6, 2018, following the filing of Plaintiff's Complaint
and removal to federal court, counsel for the parties discussed the arbitration
agreement and Defendants’ intent to move to compel arbitration based on the
arbitration provision in the parties’ consulting agreement.

3. During that meet and confer effort, I requested that Plaintiff stipulate
to arbitration based on the parties’ consulting agreement. I informed Plaintiffs
counsel that if Plaintiff would not so stipulate, Defendants intended to move to
compel arbitration promptly. Plaintiffs counsel advised that Plaintiff would not
stipulate to submit her claims to arbitration in accordance with the Consulting
Agreement signed by Plaintiff.

4. On October 10, 2018, in furtherance of the parties’ meet and confer
efforts, I reached out to Plaintiff's counsel and provided a draft of the motion to
compel arbitration Defendants intended to file if Plaintiff would not stipulate to
arbitrating her claims. I requested that Plaintiffs counsel further discuss the subject
of arbitration.

5. On October 11, 2018, Plaintiffs counsel responded to Defendants’
counsel’s meet and confer efforts stating that Plaintiff did not believe Plaintiff’ s

claims were subject to arbitration for the reasons previously discussed and laying

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DECLARATION OF CHARLES J. MALARET ISO

 

DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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MorGAN, LEWIS &

Bockius LLP

ATTORNEYS AT LAW

Los ANGELES

the motion.

claims.

foregoing is true and correct.

 

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out those reasons. On October 12, 2018, the parties further corresponded regarding

6. As of the date of this Motion, Plaintiff has refused to comply with the

Agreement’s arbitration provision by dismissing her lawsuit and arbitrating her

I declare under penalty of perjury under the laws of the United States that the

Executed at Los Angeles, California on October 15, 2018.

Oh

Chaytes J. Malaret

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DECLARATION OF CHARLES J. MALARET ISO
DEFENDANTS’ MOTION TO COMPEL ARBITRATION

 
